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                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

MICHAEL RAYMOND MORENCY and :
ROEUTH MORENCY, husband and wife, :
                  Plaintiffs,       :
                                    :
            v.                      :                      No. 5:19-cv-5304
                                    :
CITY OF ALLENTOWN, ALLENTOWN :
POLICE DEPARTMENT, CHIEF OF         :
POLICE TONY ALSLEBEN, OFFICER       :
DIEHL, SERGEANT FLORES, and         :
OFFICER BLOOD,                      :
                  Defendants.       :
____________________________________

                                          ORDER

       AND NOW, this 2nd day of October, 2020, upon consideration of the parties cross-

motions for summary judgment, see ECF Nos. 50, 51, 53, and for the reasons set forth in the

Opinion issued this date, IT IS HEREBY ORDERED THAT:

       1.      Plaintiffs’ motion for summary judgment, ECF No. 50, is DENIED.

       2.      Defendants’ motions for summary judgment, ECF Nos. 51, 53, are GRANTED.

       3.      The motions filed at ECF Nos. 64-68, are DISMISSED, as moot.

       4.      This case is CLOSED.

                                                   BY THE COURT:



                                                   /s/ Joseph F. Leeson, Jr._________
                                                   JOSEPH F. LEESON, JR.
                                                   United States District Judge




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